

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-67,170-01






ISIAH THOMPSON III, Relator


v.


 JUDGE, 179TH JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NOS. 843364-A &amp; 843535-A IN THE 179TH JUDICIAL DISTRICT COURT


FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed two applications for a writ of habeas corpus
in the 179th Judicial District Court of Harris County, that more than 35 days have elapsed, and that
the applications have not yet been forwarded to this Court. Relator contends that the district court
entered an order designating issues on June 28, 2006.

	 In these circumstances, additional facts are needed. The respondent, the judge of the 179th 
District Court of Harris County, is ordered to file a response with this Court by having the District
Clerk submit the record on such habeas corpus applications or by setting out the reasons that no
findings have been made since the order designating issues was entered. This application for leave to
file a writ of mandamus will be held in abeyance until the respondent has submitted the appropriate
response. Such response shall be submitted within 30 days of the date of this order.

Filed: April 18, 2007

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